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  Attorneys for WAYMO LLC

                              UNITED STATES DISTRICT COURT

             NORTHERN DISTRICT OF CALIFORNIA, SAN FRANCISCO DIVISION

 WAYMO LLC,                                 CASE NO. 3:17-cv-00939-WHA

                Plaintiff,                  PLAINTIFF WAYMO LLC’S
                                              ADMINISTRATIVE MOTION TO FILE
       vs.                                  UNDER SEAL ITS SUPPLEMENTAL
                                              BRIEF IN SUPPORT OF WAYMO’S
 UBER TECHNOLOGIES, INC.;                   MOTION IN LIMINE 14
   OTTOMOTTO LLC; OTTO TRUCKING
 LLC,

                Defendants.

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                                                               CASE NO. 3:17-cv-00939-WHA
                                                     WAYMO’S ADMINISTRATIVE MOTION TO SEAL
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 1          Pursuant to Civil L.R. 7-11 and 79-5, Plaintiff Waymo LLC (“Waymo”) respectfully requests

 2 to file under seal information in its Supplemental Brief in Support of Waymo’s Motion In Limine 14

 3 (“Supplemental Brief”) and supporting papers, filed concurrently herewith. Specifically, Waymo

 4 requests an order granting leave to file under seal the portions of the documents as listed below:

 5                           Document                        Portions to Be Filed      Designating
                                                                 Under Seal               Party
 6           Supplemental Brief in Support of               Highlighted in Blue      Defendants and/or
             Waymo’s Motion In Limine 14                                             Anthony
 7
                                                                                     Levandowski
 8           Exhibit 1 to the Supplemental Brief            Highlighted in Blue      Defendants
             Exhibit 2 to the Supplemental Brief            Entire Document          Defendants
 9           Exhibit 3 to the Supplemental Brief            Entire Document          Defendants and/or
                                                                                     Anthony
10
                                                                                     Levandowski
11           Exhibit 4 to the Supplemental Brief            Entire Document          Defendants and/or
                                                                                     Anthony
12                                                                                   Levandowski
13 I.       LEGAL STANDARD
14          Civil Local Rule 79-5 requires that a party seeking sealing “establish[] that the document, or
15 portions thereof, are privileged, protectable as a trade secret or otherwise entitled to protection under

16 the law” (i.e., is “sealable”). Civil L.R. 79-5(b). The sealing request must also “be narrowly tailored

17 to seek sealing only of sealable material.” Id.

18 II.      UBER’S AND MR. LEVANDOWSKI’S CONFIDENTIAL INFORMATION
19          Waymo seeks to seal these documents only because Defendants and/or Mr. Mr. Levandowski
20 have designated the information confidential and/or highly confidential. Declaration of Jordan Jaffe

21 ¶ 3. Waymo takes no position on the merits of sealing Defendants’ designated material, and expects

22 Defendants to file one or more declarations in accordance with the Local Rules.

23 III.     CONCLUSION
24          In compliance with Civil Local Rule 79-5(d), redacted and unredacted versions of the
25 above listed documents accompany this Administrative Motion. For the foregoing reasons,

26 Waymo respectfully requests that the Court grant Waymo’s Administrative Motion.

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                                                                    WAYMO’S ADMINISTRATIVE MOTION TO SEAL
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 1 DATED: October 23, 2017          QUINN EMANUEL URQUHART & SULLIVAN,
                                    LLP
 2
                                      By /s/ Jordan Jaffe
 3
                                         Jordan Jaffe
 4                                       Attorneys for WAYMO LLC

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                                                 WAYMO’S ADMINISTRATIVE MOTION TO SEAL
